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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

ROBERTO BARRIENTOS, #02067337, )
        Petitioner,            )
vs.                            )                               No. 3:20-CV-1116-X (BH)
                               )
LORIE DAVIS, Director,         )
Texas Department of Criminal   )
Justice, Correctional          )
 Institutions Division,        )
        Respondent.            )                               Referred to U.S. Magistrate Judge 1

                  ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

          After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any objections

thereto, in accordance with 28 U.S.C. § 636(b)(1), the Court is of the opinion that the Findings

and Conclusions of the Magistrate Judge are correct and they are accepted as the Findings and

Conclusions of the Court. The case will be dismissed by separate judgment for failure to follow

court orders.

          If the petitioner files a notice of appeal, he must pay the $505.00 appellate filing fee or

submit a motion to proceed in forma pauperis and a properly signed certificate of inmate trust

account.

          SIGNED this 5th day of November, 2020.




                                                               BRANTLEY STARR
                                                               UNITED STATES DISTRICT JUDGE



1
     By Special Order No. 3-251, this habeas case has been automatically referred for findings and recommendation.
